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WESTERN DIVISION
Fl|.ED B‘r' __u,__,, D.C.
UNITED STATES OF AMERICA,
05 AUG 31 PH 31 39
Plaintiff,
lHC)l‘-AAS_L"#, Q_Q§|_D
v- Cr. No 05-20291- 911 U»"§- ll ~l.C.QURl
' w iit -'Mlcl:"li§b
JAMES TAYLOR BANKS,
Defendant.
ORDER ON ARRAIGNMENT
This cause came to be heard on 03 '.5! 'OS' . The Assistant United States

 

Attorney appeared on behalf of the government, and the defendant appeared in person and with the
following counsel, Who is retained/appointed:

NAME: l\) EU (oEKJY\AM\l
ADDRESS:

 

 

TELEPHONE:

 

The defendant, through counsel, Waived formal arraignment and entered a plea of not guilty.

All motions shall be filed Within thirty (30) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended

The defendant, who is not in custody, may stand on his/her present bond.
The defendant, (not having made bond) (being a state prisoner) (being a federal

prisoner) (being held Without bond pursuant to BRA of 1984), is remanded to the custody of the U.S.
Marshal.

<s/."/ZM @

United States Magistrate Judge
Charges: embezzlement
Assistant U.S. Attomey assigned to case: S. Parl<er

The defendant's age is: 53 .

Tlu`s document entered on the docket sheet in compliance

withure 55 and/m 32(b)FRCrP on al ‘ l ~ 05 //,H.

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

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This notice confirms a copy of the document docketed as number 9 in
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PDA

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Honorable Samuel Mays
US DISTRICT COURT

